Case 3:21-cv-05595-MAS-LHG Document 22 Filed 11/22/22 Page 1 of 1 PageID: 343


                                                                                            *MEMBER NJ & NY BAR
 EUGENE KILLIAN, JR*

 DIMITRI TERESH*

 VIRGINIA A. NAIROOZ*




                                            ATTORNEYS AT LAW




November 21, 2022

VIA ECF:

William T. Walsh, Clerk of Court
United States District Court for the District of New Jersey
Clarkson S. Fisher Building & U.S. Courthouse
402 East State Street Room 2020
Trenton, NJ 08608


Re:       Minzter v. Provident Life and Accident Insurance Company
          Civil Action No.: 3:21-cv-05595 (MAS) (LHG)


Dear Mr. Walsh:

       We represent the plaintiff, Ronald M. Minzter, in this insurance coverage case. On
November 14, 2022 defendant, Provident Life and Accident Insurance Company, filed a Motion
for Summary Judgment to be heard on January 17, 2023.

        Pursuant to L.Civ.R.7.1(d)(5), please adjourn the originally noticed motion day from
January 17, 2023 to the next available day, February 6, 2023. The originally noticed motion day
has not previously been extended or adjourned.

         We thank you for your continued courtesy in this matter.


So Ordered this 22nd day of                               Respectfully Submitted,
November, 2022.                                           THE KILLIAN FIRM, P.C.
                                                  By:     Virginia A. Nairooz
_______________________________                           Virginia A. Nairooz
Honorable Michael A. Shipp,
U.S.D.J.

Cc:      Louis P. Di Giaimo Esq. (via ECF)

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